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UNITED STATES DISTRICT COURT                                                DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                               DATE FILED: December 13, 2017
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UNITED STATES OF AMERICA                                                :
                                                                        :    S3 15 Cr. 616 (KBF)
         - v. -                                                         :
                                                                        :          ORDER
DARCY WEDD,                                                             :
                                                                        :
                                          Defendant.                    :
------------------------------------------------------------------------X
KATHERINE B. FORREST, United States District Judge:

        Having reviewed the parties’ submissions at ECF Nos. 591 and 593 and

further considered the issues raised therein, the Court finds that the attached

conscious avoidance instruction is appropriate. The Court will make its findings on

the record during trial on Wednesday, December 13, 2017.

        SO ORDERED.

Dated:           New York, New York
                 December 13, 2017
                                                     ________________________________
                                                         KATHERINE B. FORREST
                                                        United States District Judge
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                                                             FINAL AS DELIVERED

                          All Counts – Conscious Avoidance

       As I explained, the Government is required to prove that the defendant acted

knowingly, as I have already defined that term. In addition to a person actually

being aware of a fact, the law also allows you to find that a defendant had

knowledge of a fact required for conviction when the evidence shows that he was

aware of a high probability of that fact but intentionally avoided confirming that

fact. The law calls this “conscious avoidance” or “willful blindness.”

       In determining whether the Government has proven beyond a reasonable

doubt that the defendant acted knowingly with respect to the charges in the            Deleted: three counts
                                                                                       Deleted: d
Indictment, you may consider whether the defendant deliberately closed his eyes to

a fact required for conviction that would otherwise have been obvious to him. One

may not willfully and intentionally remain ignorant of a fact important to his

conduct in order to escape the consequences of criminal law.

       Thus, if you find that the defendant deliberately acted with a conscious

purpose to avoid learning some relevant fact, then you may treat the defendant as

though he knew that the fact existed. However, guilty knowledge may not be

established by demonstrating that a defendant was merely reckless, negligent,          Deleted: or


careless, or foolish.

       You may not rely on willful blindness as the basis for treating the defendant

as though he was aware of the existence of a fact if you find that the defendant

actually believed that the fact did not exist. It is entirely up to you whether you

find that the defendant deliberately closed his eyes and any inferences to be drawn

from the evidence on this issue.
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                                                             FINAL AS DELIVERED

      Let me explain what the concept of willful blindness or conscious avoidance

means with respect to the substantive charges—Counts Two, Three, Six, and Seven

of the Indictment—and then I will explain what it means with respect to the

conspiracy charges—Counts One, Four, Five, and Eight of the Indictment.

      With respect to the substantive charges, in determining whether the

defendant acted knowingly, you may consider whether he deliberately closed his

eyes to what otherwise would have been obvious. Thus, for those counts, if you find

beyond a reasonable doubt that the defendant knew there was a high probability

that a criminal offense was being committed, but deliberately and consciously

avoided confirming this fact, then you may treat this deliberate avoidance of

positive knowledge as the equivalent of knowledge, unless you find that the

defendant actually believed that the criminal offense was not being committed.

      However, with respect to the conspiracy counts—Counts One, Four, Five, and

Eight—there is a difference between knowingly participating in the conspiracy and

knowing the object or objects of the conspiracy. “Conscious avoidance,” as I have

described it, cannot be used as a basis for finding that a defendant knowingly joined

the conspiracy. It is logically impossible for the defendant to join a conspiracy

unless he knows the fact that the conspiracy exists. However, if you find beyond a

reasonable doubt that the defendant chose to participate in a joint undertaking, you

may consider whether the defendant deliberately avoided confirming otherwise

obvious facts about the purpose of the agreement, which was to break the law as

alleged.



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                                                            FINAL AS DELIVERED

      That is, if you find beyond a reasonable doubt that the defendant knew that

there was a high probability that his co-conspirators intended to break the law, but

that he deliberately avoided confirming this fact, you may treat this deliberate

avoidance of positive knowledge as the equivalent of knowledge of the object of the

charged conspiracy, unless you find that the defendant actually believed that he

and his co-conspirators were acting in a lawful manner.




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